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 1                 UNITED STATES DISTRICT COURT
 2                      DISTRICT OF NEVADA
 3
      UNITED STATES OF AMERICA,              )
 4
                                             )
 5           Plaintiff,                      )    2:08-cr-164-KJD-GWF
                                             )
 6
             vs.                             )
 7                                           )    ORDER
                                             )
 8    STEVEN GOLDEN,                         )
 9                                           )
             Defendant.                      )
10                                           )
11
             Based upon the pending application of the Government, and good cause
12

13    appearing,

14           IT IS HEREBY ORDERED that the attorney-client privilege in 2:08-
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      cr-164-KJD-GWF between the defendant and Benjamin C. Durham, Esq., shall
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      be deemed waived for all purposes relating to the defendant’s motion pursuant
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18    to 28 U.S.C. § 2255 to vacate, set aside or correct sentence by a person in
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      federal custody. Former defense counsel Benjamin C. Durham, Esq., shall,
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      within 30 days of this order, provide the government with an affidavit
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22    concerning all information known by him relating to those matters put at issue

23    in the defendant’s motion. Further, Benjamin C. Durham, Esq., may
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      communicate with government counsel and provide supporting documentation
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26    regarding all matters put in issue in the defendant’s motion.
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             The government shall have an additional 30 days, after receiving Mr.
 1

 2    Durham’s affidavit, to file its response to Defendant’s 2255 motion.
 3

 4                                      June
             DATED this _____
                         21st day of ____________, 2013.
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 7                                          ____________________________________
 8                                          UNITED STATES DISTRICT JUDGE

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